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Dear Friends,

What we eat directly affects our health . It is a simple message, and yet there rema ins a critical need to reinforce it
among all segments of our society, through education on how to eat more nutritiously.

This is the underlying mission of Seafood Nutrition Partnership (SNP~           d in 20W nd built on publ ic-private
partnerships among broad-based industries and sectors that care about the health and wellness of our fellow
citizens. SNP educates Americans about the benefits of a seafood-rich diet as a scientifically proven means of
reducing the risk of chronic diseases. In this way, $NP represents one vital piece of the multi-tiered effort to
address America's growing health crisis.
                                                                                                                              S11'P ed.uc'1iRA J i n ~
I am honored to be part of the founding board of SNP along with :
•     Mr. Judson Reis, founding Chair of SNP, President and CEO of~
                                                                                                                              a1uult the IUJtel,ilA oJ a
•     Mr. Detlef Schrempf, President of the Detlef Schrempf Foundation                                                        ~-!timdiJ!tM
•     Dr. Allan Walker, Professor of§ ediatrig} Chief, rvar   edical School; Conrad Taff Professor of Nutrition,
    c':i·       edical Scho~   Professor of Nutrition   arvard School of Public Health
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We are today joined by an impressive group of board members, ambassadors and partners, as well as a scientific
and nutrition advisory council, all of whom are making a d ifference and whose impact will only continue to grow as
                                                                                                                              Of dwutic ~ .
our mission fills an ever-greater need in our society.

In th is report, we are pleased to share the significant progress we have made in our outreach efforts. I thank
our visionary donors and partners for supporting us from the beg inn ing, and I encourage you to join us in the
ongoing journey to inspire a healthier America.

Best Regards,
Jack Kilgore
Chair
Seafood Nutrition Partnership




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  Jack Kilgore                                    Tom Brenn a, PhD                                     Judson Reis                                    Detlef Schrempf
  Chai r an d Foun d ing M ember                  Director                                             Directo r and Found ing Member                 Director and Foundi ng Member
  President, Consumer Brands Division             Professor, Division of Nutritiona l                  Presid ent and Chi ef Executive Officer,       President, Detlef Schrempf Fo undation
  (Reti red), Rich Products Corporat ion          Sciences, Cornell Un iversity                       c;Gorton's lng                                  www.seafoodnutrition.org/ detlef-schrempf.html
  www.seafoodnutrition.org/jack-kilgore.htm l     www.seafoodnutrition .org/ tom -brenna .htm l        www.seafoodnutrit ion.org/j udson-reis.html
                                                                                                                                                      Hugh Welsh
  Henry Demone                                    JoAnne Foody, MD, FACC, FAHA                         Judith Rodriguez, PhD                          Dire cto r
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                                                  www.seafoodnutrition .org/joanne-foody.html          North Florida
  Linda Cornish                                                                                        www.seafoodnutrition.org/judy-rodriguez.html
  Executive Director and Secretary
  Seafood Nutrition Partnersh ip
  www.seafoodnutrition.org/linda-cornish.html




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SEPTEMBER 2014                                   DECEMBER 2014                                        JULY 2015
                                                                                                      An additional$ l.5MM Is ra,sed from             Eating Heart Healthy program Is
As a Clinton Global ln,t,at,ve (CGI)             Dr JoAnne Foody joins the Board
                                                                                                      visionary leaders towards a public              established In 8 cities . Birmingham.
Commitment to Action. SNP. Brigham               of Dir ectors
                                                                                                      hea lth education campaign                      AL: Boston. MA: Charleston. WV .
and 'w'omen·s Hospital. and Roxbury
                                                                                                                                                      Lexington. KY: Memphis. TN : Oklahoma
Tenants of Harvard formally pledge
                                                                                                                                                      Ci t y. OK : Seattle. 'w'A: Toledo. OH
to pilot four Eating Heart Healthy
programs .                                                                                        · OCTOBER 2015
                                                                                                      SNP launches nat,onal public health
                                                                                                  •   education campa,gn with grassroots              DECEMBER 2015
OCTOBER 2014                                                                                          educat,on in n,ne c1t1es Brrm,n gham
                                                                                                      AL. Brunswick . GA. Charleston. WV
                                                                                                                                                      Mr . Hugh Wel sh joins the Board
                                                                                                                                                      of Directors
SNP launches prlot grassroots
                                                                                                      Indianapolis . IN : Jacksonville FL
education program in Indianapolis . IN
                                                                                                  •   Lexington . KY: Memphis . TN. Oklahoma
and Memphis. TN.
                                                                                                      City. OK: Toledo . OH




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  AGR Partners                                  Global Aquaculture Alliance              Nuts Over Fish                     Seabreeze Seafoods
  Alaska Bering Sea Crabbers                    Global Organization for EPA and          Ocean Beauty Seafoods              Seafood Exchange of Florida
  Alaska Seafood Marketin g Institute            DHA(GOED)                               Odyssey Enterprises                SeaShare
    (ASMI)                                  Global Seas                                  OmegaOuant                         Seattle Fish Company
  American Cancer Society               <:2 orton_'.0                                                                       SIRE
                                                                                         Orea Bay Seafoods
  American Seafoods                             Handy                                    Pacific Andes                     G.@_deGorton )
  Associated Wholesale Grocers                  Harbor Seafood                           Phillips Lytle                     Soy Aquaculture Alliance
   (AWG)
                                                Harvest Select                           PNW (Project for Nutrition         SPE Certified
  Beacon Fisheries
                                                Healthy Weight Commitment                 & Wellness)                       Stavis Seafoods
<::;:! righam and Women's Hosp}tae)              Foundation                              PNW Seafood 101 (NOAA Fisheries    Tampa Maid Foods
  Bumble Bee Seafoods                           High Liner Foods                          PNW)
                                                                                                                            Together Counts
  Captain D's                                   Hyatt Regency Boston                     Preferred Freezer Services
                                                                                                                            Trident Seafoods
  Censea                                    Icicle Seafoods                              President's Challenge
                                                                                                                            Tsunami
  Chicken of the Sea                        Indiana Soybean Alliance                     ProFish
                                                                                                                            UniSea
  Clear Springs Foods                       Ipswich Shellfish Company                    Provant
                                                                                                                            USDA ChooseMyPlate.gov
  Colavita                                  King & Prince Seafood                        Publix
                                                                                                                            Wiley's
  Darden                                    Long John Silver's                           Red Lobster
  Diversified Communications                Marine Harvest                              Rich Products Corporation
  DSM                                       Marine Stewardsh ip Council (MSC)           Roxbury Tenants of Harvard
  Eastern Fish Company                      Mazzetta Company                            Royal DSM
  F.W. Bryce                                Morey's                                     Sam's Club
  FoodDay                                   National Fisheries Institute                Sea Port Products
  Fortune Fish & Gourmet                UJational Institutes of Hea ith'-
  Genuine Alaska Pollock Product            d'.he Heamrutl~>
   (GAPP)                                   NOAA FishWatch
  Glacier Fish Company                      NutriSavings




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 CHAIRMAN'S CAMPAIGN CIRCLE
  Visionary Partners $500,000+        Eating   eart Healthy   onors      Annual Donors - Mobilizers                 In-Kind Supporters
  DSM                                & Partners                          $10,000+                                   54 North
~      on's :)                       54 North                            Clear Springs Foods                        American Cancer Society
  High Liner Foods                   American eart Association           Handy                                      Colavita
  Mazzetta Company, LLC                 assac usetts                     Harvest Select                             Diversified Communications
  Trident Seafoods                    Boston c1entific                   Icicle Seafoods                            Hyatt Regency Boston
                                    Cfillgham and Women's Hospita}: 1    Indiana Soybean Alliance                 · McCormick Spices
 Anchor Partners $250,000 to         Colavita                            Ocean Beauty Seafoods                      OmegaOuant
 $499,999                            Hyatt Regency Boston                Sire Foundation                            Tsunami
 American Seafoods Group             McCormick Spices                   (Slade Gortoµ                               Wiley's Finest
 Bumble Bee                          OmegaOuant                          Soy Aquaculture Alliance
 National Fisheries Institute        Roxbury Tenants of Harvard          Stavis Seafoods                        Individual Support
                                     Stavis Seafoods                     Tampa Maid                             Dr. & Mrs. Brenna
 Tailwind Partners $100,000 to       Vela Foundation                     UniSea                                 Mr. & Mrs. Corn ish
 $249,999                            Wiley's Finest                                                             Mr. Enlow
 CenSea                                                                  Annual Donors - Supporters             Mr. Figueroa
 Eastern Fish Company                Annual Donors - Change Leader       $1,000+                             (:}fr & Mrs. Gorton .._
 Fortune Fish & Gourmet              $25,000+                            Alaska Bering Sea Crabbers               r. Hart
 Glacier Fish Company                Morey's                             Beacon Fisheries                       Mr. Kael in
 Harbor Seafood                      Odyssey Enterprises, Inc.           F.W. Bryce, Inc.                       Mr. & Mrs. Kilgore
 King & Prince Seafood                                                   Global Seas                            Mr. Larkin
 Long John Silver's                                                      Nuts Over Fish                         Mr. & Mrs. Nichols
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 Rich Products                                                           Seabreeze Seafoods                     Mr. & Mrs. Reis
                                                                         Seattle Fish                           Mr. & Mrs. Rodriguez
                                                                                                                Mr. Schramm
                                                                                                                Mr. & Mrs . Schrempf
                                                                                                                Ms. Scott
                                                                                                                Mr. Simmons
                                                                                                                Ms. Vaugh




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